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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                             CASE NO. 1:20-cr-183
v.
                                                             HON. ROBERT J. JONKER
TY GERARD GARBIN,

                Defendant.
                                    /

                                             ORDER

         Before the Court is the government’s motion to reduce sentence pursuant to Rule 35(b) of

the Federal Rules of Criminal Procedure (ECF No. 732). Defendant filed a response (ECF No.

752). This Court imposed a sentence for defendant on August 25, 2021, of 75 months.

         Based on the government’s representations of substantial assistance provided to them by

defendant; the Court’s independent assessment of the value of the assistance; the defendant’s

response; and all other pertinent factors under United States v. Grant, 636 F.3d 803 (6th Cir. 2011)

(en banc), defendant’s sentence is hereby reduced from 75 months to 30 months. All other terms

and conditions of this Court’s judgment remain the same.

         IT IS SO ORDERED.


Dated:      September 16, 2022                /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              UNITED STATES DISTRICT JUDGE
